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 6
   Attorneys for Defendant
 7
                               UNITED STATES DISTRICT COURT
 8
                                      DISTRICT OF NEVADA
 9
   PERFORMANCE RHINO LLC, a Nevada              Case No. 2:19-cv-0450-APG-VCF
10 limited liability company d/b/a/ GUN
   GARAGE,
11
                    Plaintiff,                  STIPULATION AND ORDER FOR
12                                              DISMISSAL WITH PREJUDICE
           vs.
13
   GUN GARAGE & SHOOTING RANGE LLC
14
                    Defendant.
15

16          Plaintiff, Performance Rhino LLC, a Nevada limited liability company d/b/a/ Gun Garage
17 and Defendant Gun Garage & Shooting Range LLC by and through their undersigned counsel of

18 record, hereby stipulate, request, and jointly move the Court to dismiss this case with prejudice,
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     Case 2:19-cv-00450-APG-VCF Document 57 Filed 10/19/20 Page 2 of 3




 1 each party to bear its own fees and costs.

 2                 IT IS SO STIPULATED.
 3 Respectfully Submitted,

 4 WOLF, RIFKIN, SHAPIRO,                         SNELL & WILMER L.L.P.
   SCHULMAN & RABKIN, LLP
 5 By: /s/ Jordan Butler                          By: /s/ Charles Gianelloni
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                                                 Garage
   Attorneys for Gun Garage & Shooting Range
10

11                                              ORDER
12         The Court having considered the foregoing stipulation of the Parties, and good cause
13 appearing,

14                                                IT IS SO ORDERED:
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16                                                _______________________________
                                                  United States District Judge
17
                                                          October 19, 2020
                                                  DATED:________________________
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     Case 2:19-cv-00450-APG-VCF Document 57 Filed 10/19/20 Page 3 of 3




 1                                     CERTIFICATE OF SERVICE
 2           I hereby certify that on this 19th day of October, 2020, a true and correct copy

 3 of STIPULATION AND PROPOSED ORDER FOR DISMISSAL WITH PREJUDICE was

 4 served via the United States District Court CM/ECF system on all parties or persons requiring

 5 notice.

 6                                             By /s/ Christie Rehfeld
                                                  Christie Rehfeld, an Employee of
 7                                                WOLF, RIFKIN, SHAPIRO, SCHULMAN &
                                                  RABKIN, LLP
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